IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                             )
AMC FUND, L.P.,                                              )
                                                             )
                              Plaintiff,                     )
                                                             )
                                                             )
vs.                                                          )   Case No. 1-24-cv-04549
                                                             )
DENDREON PHARMACEUTICALS LLC,                                )
                                                             )
                                                             )
                                                             )
                              Defendant.                     )
                                                             )

                                 NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that the undersigned, an attorney with the law firm Quinn

Emanuel Urquhart & Sullivan, LLP, hereby appears as counsel of record for Defendant Dendreon

Pharmaceuticals LLC, and requests that copies of any and all notices and papers filed or entered

in this case be given to and served upon the undersigned. I certify that I am admitted to practice

before this Court.

 Dated: New York, New York                          Respectfully submitted,
        July 9, 2024

                                                    QUINN EMANUEL URQUHART &
                                                    SULLIVAN, LLP

                                            By: /s/ Joseph E. Bacchi
                                                Joseph E. Bacchi
                                                51 Madison Avenue, 22nd Floor
                                                New York, New York 10010
                                                (212) 849-7000
                                                josephbacchi@quinnemanuel.com

                                                    Counsel for Defendant Dendreon
                                                    Pharmaceuticals LLC


                                                1
